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                                 UNITED STATES DISTRICT COURT
                                           FOR THE
                                EASTERN DISTRICT OF CALIFORNIA

                                         OFFICE OF THE CLERK
                                              501 "I" Street
                                          Sacramento, CA 95814


U.S. Court of Appeals
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San Francisco, CA 94103−1526


ATTENTION: RECORDS UNIT

RE:              MICHAEL ANTHONY vs. GAIL LEWIS
USCA No.:
                 Volumes of Files: 1.
                 Paper Documents: 1 to 22.
                 Volumes of Expandable Folders: 2.
USDC No.:        2:02−CV−00081−FCD−JFM


The following Clerk's Record on Appeal (or Supplemental Record on Appeal) in the above entitled
action is hereby transmitted to the Court of Appeals.
Electronic Documents: 23 to 34.

   Documents maintained electronically by the district court are accessible through
   PACER for the Eastern District of California at https://ecf.caed.uscourts.gov.

Please acknowledge receipt on the extra copy of this letter and return to the Clerk's Office.


                                                  Very truly yours,

February 22, 2006                                  /s/ R. Matson

                                                  Deputy Clerk

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